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16    Meta Platforms, Inc.

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20
       WHATSAPP LLC, and                 )          Case No. 4:19-cv-07123-PJH
21     META PLATFORMS, INC.,             )
                                         )          DECLARATION OF MICAH G.
22                     Plaintiffs,       )          BLOCK IN SUPPORT OF
                                         )          ADMINISTRATIVE MOTION FOR
23                                                  LEAVE TO FILE REPLY BRIEF IN
              v.                         )
                                                    SUPPORT OF ADMINISTRATIVE
24                                       )          MOTION TO ENLARGE PLAIN-
       NSO GROUP TECHNOLOGIES LIMITED )             TIFFS’ TIME TO FILE DISCOV-
25     and Q CYBER TECHNOLOGIES LIMITED, )          ERY-RELATED MOTIONS UNDER
                                         )          CIVIL LOCAL RULE 37-3 (DKT NO.
26                     Defendants.       )          388)
                                         )
27                                                  Ctrm:    3
                                         )
                                                    Judge:   Hon. Phyllis J. Hamilton
28                                       )
                                         )
                                         )          Action Filed: October 29, 2019
     Case 4:19-cv-07123-PJH          Document 392-2         Filed 09/24/24      Page 2 of 2



1            I, Micah G. Block, declare as follows:

2            1.      I am partner of the law firm of Davis Polk & Wardwell LLP and admitted to prac-

3     tice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plain-

4     tiffs”) in the above-captioned action. I submit this Declaration in support of Plaintiffs’ Adminis-

5     trative Motion to File a Reply Brief in Support of Plaintiffs’ Administration Motion to Enlarge

6     Plaintiffs’ Time to File Discovery-Related Motions.

7            2.      On September 20, 2024, Plaintiffs filed their Administration Motion to Enlarge

8     Plaintiffs’ Time to File Discovery-Related Motions (Dkt. No. 388).

9            3.      On September 24, 2024, Defendants NSO Group Technologies Ltd. and Q Cyber

10    Technologies Ltd. (“Defendants”) filed their Opposition to Plaintiffs’ Administration Motion to

11    Enlarge Plaintiffs’ Time to File Discovery-Related Motions (Dkt. No. 391).

12           4.      After Defendants filed their Opposition, Plaintiffs’ counsel inquired whether De-

13    fendants’ counsel would consent to Plaintiffs’ filing a reply brief in support of their Administrative

14    Motion. Defendants’ counsel did not respond, and therefore a stipulation could not be obtained.

15           I declare under the penalty of perjury that the foregoing is true and correct.

16

17           Executed on the 24th day of September, 2024 at Los Angeles, California.

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19                                                              /s/ Micah G. Block
                                                                Micah G. Block
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      DECL. OF M. BLOCK ISO ADMIN. MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF ADMIN. MOTION TO EN-
      LARGE TIME TO FILE DISCOVERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
